                 Case 8:18-bk-02807-RCT                 Doc 33           Filed 04/30/19   Page 1 of 1
[Dodefmao] [District Order Deficient Motion, Application or Objection]




                                            ORDERED.
Dated: April 30, 2019




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                          Case No.
                                                                                8:18−bk−02807−RCT
                                                                                Chapter 7
Mark Alan Piburn

Judith Ann Piburn
aka Judi Ann Piburn

________Debtor*________/



 ORDER ABATING MOTION TO SELL REAL PROPERTY AND PAY SECURED CREDITOR(S) AND
                            TRANSACTIONAL COSTS

   THIS CASE came on for consideration, without hearing, of the Motion To Sell Property and Pay Secured
Creditor(s) and Transactional Costs by Trustee Stephen L Meininger , Doc. # 30 . After review, the Court
determines that the motion , is deficient as follows:

         Service upon the Debtor at the Debtor's address of record is not indicated. Fed. R. Bankr. P.
         3007(a), 4003(b)(4) and 7004(b)(9).




   Accordingly it is

   ORDERED:

   Consideration of the motion is abated until the deficiency is corrected.



The Clerk's Office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
